     Reset Form   Case 2:21-cr-00540-SB UNITED STATES
                                         Document     DISTRICT
                                                  2 Filed      COURT
                                                          11/29/21 Page 1 of 2 Page ID #:19
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                              11/29/2021
                                                                 CASE SUMMARY
                                                                                                                                    JB

        Case Number           2:21-cr-00540 -SB                                       Defendant Number 1
        U.S.A. v. Paul O. Paradis                                                     Year of Birth 1963
             Indictment                   ✔   Information                Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                  PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                       A complaint/CVB citation was previously filed on:
                                                                               Case Number:
     Class A Misdemeanor          Minor Offense        Petty Offense
                                                                               Assigned Judge:
     Class B Misdemeanor          Class C Misdemeanor       ✔   Felony
                                                                               Charging:
b. Date of Offense February 25, 2015 - March 14, 2019
                                                                               The complaint/CVB citation:
c. County in which first offense occurred
                                                                                      is still pending
Los Angeles                                                                               was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                     PREVIOUS COUNSEL
                                                                               Was defendant previously represented?          No     ✔    Yes
       ✔ Los Angeles                  Ventura
                                                                               IF YES, provide Name:       David Scheper
             Orange                        Santa Barbara
                                                                                       Phone Number: 213-615-1715
         ✔   Riverside                     San Luis Obispo
                                                                               COMPLEX CASE
             San Bernardino                Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                        Yes*        ✔ No
Citation of Offense 18 USC 666
                                                                               Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
e. Division in which the MAJORITY of events, acts, or omissions                      ✔ Yes*             No
   giving rise to the crime or crimes charged occurred:                        *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                               OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                               CHECKED.
     Eastern (Riverside and San Bernardino)         Southern (Orange)
                                                                               SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                   IS THIS A NEW DEFENDANT?             ✔   Yes   No

Has an indictment or information involving this defendant and                  This is the         superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                 The superseding case was previously filed on:
filed and dismissed before trial?
        ✔ No          Yes
                                                                               Case Number
        If "Yes," Case Number:
                                                                               The superseded case:
Pursuant to General Order 21-01, criminal cases may be related
if a previously filed indictment or information and the present                   is still pending before Judge/Magistrate Judge
case:
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                              was previously dismissed on

    b. involve one or more defendants in common, and would                     Are there 8 or more defendants in the superseding case?
       entail substantial duplication of labor in pretrial, trial or                    Yes*           No
       sentencing proceedings if heard by different judges.                    Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                     ✔ Yes*             No
CASE): Bradshaw v. City of Los Angeles, CV 19-661-VAP; Paradis
                                                                               Was a Notice of Complex Case filed on the Indictment or
v. Pansky, CV-20-9960; Jones v. Los Angeles, CV 20-11502-VAP                   Information?
                                                                                     ✔ Yes             No
                                                                               *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                               MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                               FILED IF EITHER "YES" BOX IS CHECKED.
CR-72 (03/21)                                                          CASE SUMMARY                                                       Page 1 of 2
                    Case 2:21-cr-00540-SB UNITED STATES
                                           Document     DISTRICT
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                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES      ✔   NO                           Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint:
                                                                              b. Posted bond at complaint level on:
                                                                                   in the amount of $
OTHER                                                                                                                No
                                                                              c. PSA supervision?          Yes
 ✔   Male               Female                                                d. Is on bail or release from another district:
     U.S. Citizen       Alien
Alias Name(s)                                                                 Defendant is in custody:
                                                                              a. Place of incarceration:         State        Federal
This defendant is charged in:                                                 b. Name of Institution:
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:             Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State              Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                          Yes     ✔   No                      f. Awaiting trial on other charges:         Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?          Yes         No                            IF YES :     State       Federal      AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud       ✔ public corruption                     This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                      tax offenses
     environmental issues                  mail/wire fraud
     narcotics offenses                    immigration offenses
     violent crimes/firearms               corporate fraud
     Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date                                                  Si
                                                                            Signature
                                                                                  t   off A
                                                                                          Assistant
                                                                                             i t tU U.S.
                                                                                                      S Attorney
                                                                            MELISSA MILLS
                                                                            Print Name
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